Case 8:03-cr-00437-E_K-MAP Document 161 Filed 08/08/06 Page 1 of 11 PageID 523




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION




 MAURICIO GRINARD-HENRY,


 v.                                                Case No. 8:06-cv-719-T-17MAP
                                                            8:03-cr-437-T-17MAP

 UNITED STATES OF AMERICA,

 ______________________________

                                         ORDER

        This cause is before the Court on Defendant Mauricio Grinard-Henry (hereinafter

 Henry)'s 28 U.S.C. § 2255 motion to vacate, set aside, or correct an allegedly illegal

 sentence. (Doc. cv-1; cr-155)

                                      BACKGROUND

        On November 6, 2003, Henry and three others were charged by superseding

 indictment with: (1) possessing with intent to distribute five kilograms or more of cocaine,

 while abroad a vessel subject to the jurisdiction of the United States, in violation of 46

 U.S.C. App. §§ 1903(a) and (g), 21 U.S.C.§ 960(b)(1)(B)(ii), and 18 U.S.C. § 2 (Count

 One); and (2) conspiring to possess with intent to distribute five kilograms or more of

 cocaine, while aboard a vessel subject to the jurisdiction of the United States, in violation
Case 8:03-cr-00437-E_K-MAP Document 161 Filed 08/08/06 Page 2 of 11 PageID 524




 of 46 U.S.C. App. §§ 1903(a), (g) and (j) and 21 U.S.C. § 960(b)(1)(B)(ii) (Count Two). Doc.

 271 After entering into a written plea agreement, Doc. 52, Henry pled guilty to Count One.

 Docs. 68, 73; Doc. 114 at 17.

         On May 14, 2004, the district court sentenced Henry to a 135-month term of

 imprisonment, a 60-month term of supervised release, and a special assessment of

 $100.00. Doc. 103 at 20. Henry filed a timely notice of appeal. Doc. 90.

         On direct appeal, Henry argued that: (1) the sentencing procedure by which the

 base offense level was increased to 38, without a jury determination or consent to judicial

 fact finding, was unlawful and in violation of Henry’s constitutional rights (under Apprendi

 v. New Jersey, 530 U.S. 466 (2000), and Blakely v. Washington, 542 U.S. 296 (2004)); (2)

 the district court erroneously denied a minor role adjustment; and (3) the district court erred

 as a matter of law in denying Henry’s motion for downward departure.2 The United States

 moved to dismiss Henry’s appeal based upon his appeal waiver provision contained in his

 plea agreement.3 The Eleventh Circuit Court of Appeals granted the Government’s motion

 to dismiss on December 23, 2004. Doc. 133. Henry then sought reconsideration of the

 appellate court’s dismissal in light of the Supreme Court’s decision in United States v.

 Booker, 543 U.S. 220 (2005).4 His motion was denied on February 11, 2005. United States

 v. Henry, 399 F.3d 1294 (11th Cir. 2005). Henry’s petition for a writ of certiorari was filed


         1
          Unless otherwise indicated, all citations to the docket sheet are to that of the underlying criminal
 case, No. 8:03-cr-437-T-17MAP.
         2
             A copy of Henry’s appellate brief is attached hereto as Exhibit A.
         3
           A copy of the Government’s motion to dismiss is attached hereto as Exhibit B. The attachments to
 Exhibit B include Henry’s plea agreement (Attachment 1) and a transcript of Henry’s rearraignment hearing
 (Attachment 2).

         4
          A copy of Henry’s motion for reconsideration and a copy of the Government’s response thereto are
 attached hereto as Exhibit C. 5A copy of this document is attached as Exhibit D.
Case 8:03-cr-00437-E_K-MAP Document 161 Filed 08/08/06 Page 3 of 11 PageID 525




 with the Supreme Court on April 5, 2005.5 The Supreme Court denied his petition for writ

 of certiorari on May 16, 2005. Grinard-Henry v. United States, 544 U.S. 1041 (2005).

       Henry then timely filed the present 2255 motion to vacate.



                                                 FACTS

       The facts of this case are set forth in the written plea agreement executed by Henry:

              On or about October 19, 2003, in the Caribbean Sea, approximately
       173 nautical miles south of Jamaica, Defendant Grinard- Henry was traveling
       with Steve Bowie-Myles, Jesus Quejada-Pomare, Arnal Henry-Howard and
       a juvenile male in a go-fast vessel subject to the jurisdiction of the United
       States, that is, a vessel without nationality. The go-fast vessel contained a
       large quantity of cocaine wrapped in bales, most–or all–of which contained
       between 20 and 30 separately wrapped one-kilogram packages of cocaine.

              When the crew members of the go-fast vessel realized that they were
       being followed by a United States Coast Guard helicopter, they began
       throwing the bales of cocaine overboard. The crew members continued
       throwing the bales overboard even while the Coast Guard helicopter gave
       verbal warnings to stop, fired warning shots, and fired shots that ultimately
       disabled the go-fast vessel’s engines.

             Coast Guard personnel recovered 70 bales of cocaine, weighing
       approximately 4,493 pounds, in and around the disabled go-fast vessel.
       Defendant Henry knowingly, intentionally, and willfully jointly possessed the
       cocaine recovered by the Coast Guard, and he intended to distribute it to
       another person. Doc. 52 at 14-15. At his rearraignment hearing, Henry
       admitted that these facts were true.

 Doc. 114 at 17-19.

                                             DISCUSSION

       Henry raises two ineffective assistance of counsel claims. Doc. cv-2). These claims

 are cognizable under section 2255. See Lynn v. United States, 365 F.3d 1225, 1234 n.17

 (11th Cir.), cert. denied, 543 U.S. 891 (2004). The section 2255 procedural default rule



       5
           A copy of this document is attached as Exhibit D.
Case 8:03-cr-00437-E_K-MAP Document 161 Filed 08/08/06 Page 4 of 11 PageID 526




 does not apply to ineffective assistance of counsel claims. Massaro v. United States, 538

 U.S. 500, 502-03 (2003); Lynn, 365 F.3d at 1234 n.17.

         However, by entering an unconditional guilty plea, Henry has waived his two

 ineffective assistance of counsel claims. “A defendant who enters a plea of guilty waives

 all non-jurisdictional challenges to the constitutionality of the conviction, and only an attack

 on the voluntary and knowing nature of the plea can be sustained.” Wilson v. United States,

 962 F.2d 996, 997 (11th Cir. 1992); see also United States v. Antonio, 2006 WL 1232805

 (M.D. Fla. 2006)(Moody, J.)(citing Wilson for the proposition that claims of “pre-plea

 ineffectiveness [are] waived”). Non-jurisdictional challenges to the constitutionality of a

 conviction include ineffective assistance of counsel claims that relate to pre-plea issues.

 Wilson, 962 F.2d at 997.6 Because Henry does not dispute that his guilty plea was

 voluntary and knowing, his ineffective assistance of counsel claims are waived.

 Furthermore, Henry's ineffective assistance of counsel claims lack merit.

                            Standard for Effective Assistance of Counsel

         To prevail on a claim of ineffective assistance of counsel, the petitioner must

 establish deficient performance and resulting prejudice. The Sixth Amendment right to

 counsel is the right to effective assistance of counsel. McMann v. Richardson, 397 U.S.

 759, 771 n.14 (1970). The benchmark for judging any claim of ineffective assistance of

 counsel, however, is whether counsel's conduct so undermined the proper functioning of

 the adversarial process that the trial cannot be relied on as having produced a just result.


         6
            One of Henry’s two ineffective assistance of counsel claims is that his attorney failed to argue that
 the court lacked subject matter jurisdiction. While the underlying argument that his attorney allegedly failed
 to make was jurisdictional, the Sixth Amendment claim by Henry–that his attorney failed to make this
 jurisdictional argument–is non-jurisdictional. See also United States v. Gonzalez, 311 F.3d 440, 444 (1st Cir.
 2002)(holding that MDLEA defendant who unconditionally pleads guilty forfeits his right to challenge the district
 court’s jurisdiction on appeal).
Case 8:03-cr-00437-E_K-MAP Document 161 Filed 08/08/06 Page 5 of 11 PageID 527




 Strickland v. Washington, 466 U.S. 668, 688 (1984); see also Boykins v. Wainwright, 737

 F.2d 1539, 1542 (11th Cir. 1984). Because a lawyer is presumed to be competent to assist

 a defendant, the burden is on the accused to demonstrate the denial of the effective

 assistance of counsel. United States v. Cronic, 466 U.S. 648, 658 (1984). Ineffectiveness

 of counsel may be grounds for vacating a conviction if (1) counsel's performance fell below

 an objective standard of reasonable professional assistance and (2) the defendant was

 prejudiced by the deficient performance. Strickland, 466 U.S. at 687, 694. "There is no

 reason for a court deciding an ineffective assistance claim. . . to address both components

 of the inquiry if the defendant makes an insufficient showing on one." Strickland, 466 U.S.

 at 697. Thus, if the defendant fails to show that he is prejudiced by the alleged errors of

 counsel, this Court may reject the defendant's claim without determining whether the

 counsel's performance was deficient. See Coulter v. Herring, 60 F.3d 1499, 1504 n.8 (11th

 Cir. 1995).

        For performance to be deficient, it must be established that, in light of all the

 circumstances, counsel's performance was outside the wide range of professional

 competence. See Strickland, 466 U.S. at 690. In other words, when reviewing counsel's

 decisions, "the issue is not what is possible or 'what is prudent or appropriate, but only what

 is constitutionally compelled."' Chandler v. United States, 218 F.3d 1305, 1313 (11th Cir.

 2000) (en banc) (quoting Burger v. Kemp, 483 U.S. 776, 794 (1987)), cert. denied, 531

 U.S. 1204 (2001). Furthermore, "[t]he burden of persuasion is on a petitioner to prove, by

 a preponderance of competent evidence, that counsel's performance was unreasonable."

 Strickland, 466 U.S. at 688. This burden of persuasion, though not insurmountable, is a

 heavy one. See Chandler, 218 F.3d at 1314 (citing Kimmelman v. Morrison, 477 U.S. 365,
Case 8:03-cr-00437-E_K-MAP Document 161 Filed 08/08/06 Page 6 of 11 PageID 528




 381 (1986)).

        "'Judicial scrutiny of counsel's performance must be highly deferential,'" and courts

 must avoid second-guessing counsel's performance." Chandler, 218 F.3d at 1314 (quoting

 Strickland, 466 U.S. at 689). "Courts must 'indulge [the] strong presumption' that counsel's

 performance was reasonable and that counsel 'made all significant decisions in the

 exercise of reasonable professional judgment."' Chandler, 218 F.3d at 1314 (quoting

 Strickland, 466 U.S. at 689-90). Therefore, "counsel cannot be adjudged incompetent for

 performing in a particular way in a case, as long as the approach taken 'might be

 considered sound trial strategy."'     Chandler, 218 F.3d at 1314 (quoting Darden v.

 Wainwright, 477 U.S. 168 (1986)).

        If the record is incomplete or unclear about counsel's actions, then it is presumed

 that counsel exercised reasonable professional judgment. See Chandler, 218 F.3d at

 1314-15 n.15. Thus, the presumption afforded counsel's performance "is not ... that the

 particular defense lawyer in reality focused on and, then, deliberately decided to do or not

 to do a specific act." Id. Rather, the presumption is "that what the particular defense lawyer

 did at trial . . . were acts that some reasonable lawyer might do." Id. Moreover, "[t]he

 reasonableness of a counsel's performance is an objective inquiry." Chandler, 218 F.3d

 at 1315. For Henry to show deficient performance, he "must establish that no competent

 counsel would have taken the action that his counsel did take." Id. To uphold a lawyer's

 strategy, a court "need not attempt to divine the lawyer's mental processes underlying the

 strategy." Chandler, 218 F.3d at 1315 n.16. Finally, "[n]o absolute rules dictate what is

 reasonable performance for lawyers." Id. at 1317.
Case 8:03-cr-00437-E_K-MAP Document 161 Filed 08/08/06 Page 7 of 11 PageID 529




                                               Ground One

         Henry claims that his counsel was ineffective “for not challenging or suppressing the

 70 bales of cocaine that was alleged to be thrown overboard from the go-fast vessel.”

 Apparently, Henry is claiming that his attorney should have moved to suppress the 70 bales

 of cocaine on Fourth Amendment grounds. Even assuming that the Fourth Amendment

 applies to the seizure of contraband from non-resident aliens outside of the United States,7

 Henry’s first ineffective assistance of counsel claim must fail. “Under the Fourth

 Amendment, the Coast Guard may stop and board a foreign vessel in international waters

 if it has a reasonable suspicion that the vessel is engaged in activity that violated United

 States law.” United States v. Tinoco, 304 F.3rd 1088, 1116-17 (11th Cir. 2002). The

 Eleventh Circuit has held that there was “reasonable suspicion” when a vessel appearing

 to have no nationality did not respond to radio calls, attempted to flee, and threw bales in

 the water. The facts of the instant case, which were set forth in the written plea agreement

 and admitted to by Henry at his rearraignment hearing, (see above) are virtually identical.

 Defense counsel cannot be deemed to have performed deficiently by failing to file a motion

 that would have been futile. For the same reason, Henry cannot satisfy the “prejudice”

 prong of Strickland. See also Salcedo-Palma v. United States, 2005 WL 1243775 (M.D.

 Fla. 2005)(Bucklew, J.)(finding that defense counsel was not ineffective in failing to file

 a“futile” motion to suppress because the defendant signed a plea agreement in which he

 admitted that the vessel on which he was traveling was “subject to the jurisdiction of the


         7
            The Supreme Court has held that the Fourth Amendment does not apply to the search and seizure
 by the United States of property owned by a non-resident alien and located outside of the United States. See
 United States v. Verdugo- Urquidez, 494 U.S. 259 (1990). Relying upon Verdugo-Urquidez, the Fifth Circuit
 has held that the Fourth Amendment does not apply to the activities of the United States directed against
 aliens in international waters. United States v. Kurdyukov, 48 Fed. Appx. 103, 2002 WL 31016494 (5th Cir.
 2002). However, the Eleventh Circuit has addressed such Fourth Amendment claims on the merits. See, e.g.,
 United States v. Tinoco, 304 F.3rd 1088, 1116-17 (11th Cir. 2002).
Case 8:03-cr-00437-E_K-MAP Document 161 Filed 08/08/06 Page 8 of 11 PageID 530




 United States”).

         Henry’s first claim must also fail because even if a motion to suppress had been filed

 and granted, it would not have affected the outcome of the case. Obviously, a successful

 motion to suppress would have prevented the Government from using as evidence the

 cocaine found on the vessel in which Henry was traveling. However, such a motion would

 not have prevented the Government from introducing as evidence the numerous bales of

 cocaine–each weighing between 20 and 30 kilograms–that were tossed from the vessel

 before it was stopped. Under almost identical circumstances, the Eleventh Circuit held that

 the defendants had no Fourth Amendment interest in cocaine that was thrown into the

 ocean while the Coast Guard approached. See Tinoco, 304 F.3d at 1117. Therefore,

 Henry’s counsel cannot be deemed to have performed deficiently by failing to file a motion

 that, even if successful, would not have changed the outcome of the case. For the same

 reason, Henry cannot satisfy the “prejudice” prong of Strickland.8

                                              Ground Two

         Henry claims that his counsel was ineffective in not moving to dismiss the indictment

 for lack of subject matter jurisdiction. According to Henry, the court lacked subject matter

 jurisdiction under 46 App. U.S.C. § 1903 because the go-fast vessel was in the Caribbean

 Sea and did not “enter into the United States Territorial water.”

         The performance of Henry’s counsel was not deficient. Under the well-established

 case law of the Eleventh Circuit, such a motion to dismiss would have been frivolous. In

 United States v. Rendon, 354 F.3d 1320, 1325 (11th Cir. 2003), the Eleventh Circuit held:



         8
           A successful motion to suppress would not have prevented the Government from using the cocaine
 seized from the go-fast vessel at the sentencing hearing. See United States v. Lynch, 934 F.2d 1226 (11th
 Cir. 1991)(evidence obtained in violation of the Fourth Amendment may be used at sentencing).
Case 8:03-cr-00437-E_K-MAP Document 161 Filed 08/08/06 Page 9 of 11 PageID 531




              Significantly, “[s]ection 1903(c)(1)(A) states that ‘a vessel without

       nationality’ is included within the definition of a vessel subject to the

       jurisdiction of the United States.” Tinoco, 304 F.3d at 1112 (quoting 46

       U.S.C. app. § 1903(c)(1)(A)). Additionally, “we noted that Congress, under

       the ‘protective principle’ of international law, may assert extraterritorial

       jurisdiction over vessels in the high seas that are engaged in conduct that

       ‘has a potentially adverse effect and is generally recognized as a crime by

       nations that have reasonably developed legal systems.’” Id. at 1108 (quoting

       United States v. Gonzalez, 776 F.2d 931, 939 (11th Cir. 1985)). Further, this

       circuit and other circuits have not embellished the MDLEA with a nexus

       requirement. See, e.g., United States v. Mena, 863 F.2d 1522, 1527 (11th

       Cir. 1989)(rejecting facial challenge to MDLEA based on a lack of a

       “meaningful relationship” to the United States); [additional citations and

       footnotes omitted]. See also Rendon, 354 F.3d at 1325 n. 3 (defendant’s

       “argument that his prosecution was unlawful because the government did not

       allege or prove that he was within the United States Customs territory when

       he was apprehended is invalid”).

       Henry has not–and cannot–offer any evidence suggesting that the go-fast vessel on

 which he was traveling was stateless. Indeed, during his rearraignment hearing, Henry

 admitted that he was apprehended in a “go-fast vessel that had no nationality and was

 subject to the jurisdiction of the United States.” Doc. 114 at 17-18. Such statements at a

 rearraignment hearing are accepted as conclusive unless the defendant reasonably alleges

 why they should not be. See United States v. Gonzalez-Mercado, 808 F.2d 796, 800 n.8
Case 8:03-cr-00437-E_K-MAP Document 161 Filed 08/08/06 Page 10 of 11 PageID 532




 (11th Cir. 1997).

        Henry’s counsel cannot be deemed to have performed deficiently by failing to

 address an issue that reasonably would have been considered to be without merit. See

 Davis v. Singletary, 119 F.3d 1471, 1476 (11th Cir. 1997); Spaziano v. Singletary, 36 F.3d

 1028, 1039 (11th Cir. 1994); Pitts v. Cook, 923 F.2d 1568, 1572-74 (11th Cir. 1991);

 Thompson v. Wainwright, 787 F.2d 1447, 1459 n.8 (11th Cir. 1986). Likewise, Henry

 cannot satisfy the “prejudice” prong of Strickland when his counsel fails to raise a meritless

 argument.

        Accordingly, the Court orders:

        That Grinard-Henry's 28 U.S.C. § 2255 motion to vacate, set aside, or correct an

 allegedly illegal sentence (Doc. cv-1; cr-155) is denied. The Clerk is directed to enter

 judgment against Grinard-Henry in the civil case and close that case.

        IT IS FURTHER ORDERED that defendant is not entitled to a certificate of

 appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal

 a district court's denial of his motion to vacate. 28 U.S.C. § 2253(c)(1). Rather, a district

 court must first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if

 the applicant has made a substantial showing of the denial of a constitutional right.” Id. at

 § 2253(c)(2). To make such a showing, defendant “must demonstrate that reasonable

 jurists would find the district court's assessment of the constitutional claims debatable or

 wrong,” Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S.

 473, 484 (2000)), or that “the issues presented were ‘adequate to deserve encouragement

 to proceed further, ’ " Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot

 v. Estelle, 463 U.S. 880, 893 n. 4 (1983)). Defendant has not made the requisite showing
Case 8:03-cr-00437-E_K-MAP Document 161 Filed 08/08/06 Page 11 of 11 PageID 533




 in these circumstances.

       Finally, because Defendant is not entitled to a certificate of appealability, he is not

 entitled to appeal in forma pauperis.

       ORDERED at Tampa, Florida, on August 8, 2006.




 AUSA: Arthur Lee Bentley, III

 Pro Se: MAURICIO GRINARD-HENRY
